USDC IN/ND case 4:22-cv-00045-PPS-JEM             document 69-1     filed 01/27/23   page 1 of 2


                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                               LAFAYETTE DIVISION


   In re INOTIV, INC. SECURITIES                  Case No. 4:22-cv-00045-PPS-JEM
   LITIGATION
                                                  Judge Philip P. Simon

                                                  Magistrate Judge John E. Martin


                              INDEX OF EXHIBITS
                IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
                 LEAD PLAINTIFF’S FIRST AMENDED COMPLAINT

     Ex.                                      Description

      A.    Inotiv Form 10-K filed on 12/22/2020 (excerpt)

      B.    Inotiv Form 8-K filed on 9/21/2021 (excerpt)

      C.    Inotiv Form 8-K filed on 9/21/2021 (excerpt)

      D.    Inotiv Preliminary Proxy Statement filed on 9/24/2021 (excerpt)

      E.    Inotiv Definitive Proxy Statement filed on 10/5/2021 (excerpt)

      F.    Inotiv Form 8-K filed on 11/5/2021 (excerpt)

      G.    Inotiv Form 10-K filed on 12/21/2021 (excerpt)

      H.    Inotiv Form 8-K filed on 1/31/2022 (excerpt)

      I.    Inotiv Form 10-Q filed on 2/16/2022 (excerpt)

      J.    Inotiv Form 4s for Leasure, Taylor, and Sagartz filed on 2/17/2022 and 2/18/2022

      K.    Inotiv Form 10-Q filed on 5/16/2022 (excerpt)

      L.    Inotiv Form 8-K filed on 5/20/2022

      M.    Inotiv Form 8-K filed on 6/17/2022

      N.    Inotiv Form 8-K filed on 7/20/2022

      O.    Inotiv Form 8-K filed on 11/17/2022
USDC IN/ND case 4:22-cv-00045-PPS-JEM          document 69-1       filed 01/27/23     page 2 of 2


     P.    Envigo’s November 11, 2021 Statement on PETA Report, available at
           https://www.virginiamercury.com/wp-content/uploads/2021/11/Envigo-PETA-
           Action-Holding-FINAL-11NOV21.pdf

     Q.    Jefferies London Healthcare Virtual Conference Transcript and Presentation on
           11/16/2021 (excerpt)

     R.    Certified Transcript of Partial Virginia Senate Agriculture, Conservation and
           Natural Resources Committee hearing on 2/3/2022, available at https://virginia-
           senate.granicus.com/MediaPlayer.php?view_id=3&clip_id=4878.2/3/2022

     S.    Transcript of Inotiv’s Q2 2022 Earnings Call on 5/12/2022

     T.    Craig-Hallum Capital Group LLC Report dated 2/16/2022

     U.    Lake Street Capital Markets Report dated 2/18/2022

     V.    Lake Street Capital Markets Report dated 6/14/2022

     W.    Lake Street Capital Markets Report dated 11/18/2022

     X.    Inotiv Class Period Share Price Data from https://www.nasdaq.com/market-
           activity/quotes/historical

     Y.    USDA Animal Care Inspection Guide (excerpt), available at
           https://www.aphis.usda.gov/animal_welfare/downloads/Animal-Care-Inspection-
           Guide.pdf

     Z.    USDA Inspection Reports for the Cumberland Facility, available at https://aphis-
           efile.force.com/PublicSearchTool/s/inspection-reports

     AA.   Envigo’s Webpage – Our Work With Animals, available at
           https://www.envigo.com/our-work-with-animals

     BB.   FDA’s Webpage – The Drug Development Process, available at
           https://www.fda.gov/patients/learn-about-drug-and-device-approvals/drug-
           development-process
